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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ANDERSON ST. JOHN, individually and on
 behalf of all others similarly situated,

                           Plaintiff,
                                                                        JUDGMENT
         - against -                                                    CV 22-1257 (GRB) (AYS)

 ADESA, INC.,

                            Defendant.
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         A Memorandum of Decision and Order of Honorable Gary R. Brown, United States

 District Judge, having been filed on September 21, 2023, granting Defendant’s motion to join

 ADESA NY as a necessary party, granting Defendant’s motion to dismiss under Federal Rule of

 Civil Procedure 12(b)(1), and dismissing this matter without prejudice to its refiling in state

 court, it is

         ORDERED AND ADJUDGED that Plaintiff Anderson St. John take nothing of

 Defendant ADESA, Inc.; that Defendant’s motion to join ADESA NY as a necessary party is

 granted; that Defendant’s motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) is

 granted; that this matter is dismissed without prejudice to its refiling in state court; and that this

 case is closed.


 Dated: September 22, 2023
        Central Islip, New York

                                                                      BRENNA B. MAHONEY
                                                                      CLERK OF COURT

                                                                BY:   /S/ JAMES J. TORITTO
                                                                      DEPUTY CLERK
